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                                                     United States District Court
                                                     Central District of California
              SECOND AMENDED J&C AS TO HIGHLIGHTED RESTITUTION AMOUNT ONLY

 UNITED STATES OF AMERICA vs.                                            Docket No.            CR 12-00009 DDP

                                                                         Social Security
 Defendant               SEONWEON KIM                                    No.                   2       2   5      0
 akas: none                                                              (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                           MONTH      DAY     YEAR
          In the presence of the attorney for the government, the defendant appeared in person                 Jan.    15      2015


 COUNSEL                                                                Garo B. Ghazarian, retained.
                                                                                   (Name of Counsel)

                        GUILTY, and the court being satisfied that there is a factual basis for           NOLO
    PLEA           X
                       the plea.                                                                       CONTENDERE           NOT GUILTY

                   There being a finding/verdict     GUILTY, defendant has been convicted as charged of the offense(s) of:
   FINDING
                  of
                  18 U.S.C. § 1347: Health Care Fraud as charged in the Single Count Information.
JUDGMENT          The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient
AND PROB/         cause to the contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and
  COMM            convicted and ordered that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the
  ORDER           defendant is hereby committed to the custody of the Bureau of Prisons to be imprisoned for a term of:

      Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the
defendant, Seonweon Kim, is hereby committed on the Single Count Information to the custody of
the Bureau of Prisons to be imprisoned for a term of 21 months.

      Upon release from imprisonment, the defendant shall be placed on supervised release for a
term of three years under the following terms and conditions:

         1.        The defendant shall comply with the rules and regulations of the
                   U. S. Probation Office, General Order 05-02, and General Order 01-
                   05, including the three special conditions delineated in General
                   Order 01-05;

         2.        During the period of community supervision the defendant shall pay
                   the special assessment and restitution in accordance with this
                   judgment's orders pertaining to such payment;

         3.        The defendant shall cooperate in the collection of a DNA sample
                   from the defendant;



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         4.        The defendant shall apply all monies received from income tax
                   refunds, lottery winnings, inheritance, judgements and any
                   anticipated or unexpected financial gains to the outstanding court-
                   ordered financial obligation;

         5.        The defendant shall not be employed in any position that requires
                   licensing and/or certification by any local, state, or federal agency
                   without the prior written approval of the Probation Officer.

      The drug testing condition mandated by statute is suspended based on the Court's
determination that the defendant poses a low risk of future substance abuse.
RESTITUTION:          It is ordered that the defendant shall pay restitution pursuant to 18 U.S.C. § 3663 (A).
Defendant shall pay restitution in the total amount of $1,867,051.03 to victims as set forth in a separate
victim list prepared by the probation office which this Court adopts and which reflects the Court's
determination of the amount of restitution due to each victim. The victim list, which shall be forwarded to the
fiscal section of the clerk's office, shall remain confidential to protect the privacy interests of the victims.

        Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per
quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. If any
amount of the restitution remains unpaid after release from custody, nominal monthly payments of at
least 10% of defendant's gross monthly income shall be made during the period of supervised
release and shall begin 30 days after the commencement of supervision. Nominal restitution
payments are ordered as the Court finds that the defendant's economic circumstances do not allow
for either immediate or future payment of the amount ordered. Amounts paid to the medicare
program from seized funds or as a result of resolution of Civil False Claims Act liability for the same
conduct shall be credited to the restitution obligation

       The defendant shall be held jointly and severally liable with co-participants, Hee Jung Mun
(Docket No. CR 11-01196 DDP) and Yeong Ja Lee (Docket No. CR-12-00397-DDP) for $831,902,
representing losses suffered by Medicare, as a result of the fraud scheme involving Greatcare. The
defendant shall be held jointly and severally liable with co-participants, for the losses attributable to
California Neuro-Rehabilitation Institute, Eddie Choi and Won Suk Lee, both charged in related case
(Docket No. CR 12-00712 DDP) for $1,035,149.03, representing the losses suffered by Medicare.
The victims’ recovery is limited to the amount of their loss and the defendant’s liability for restitution
ceases if and when the victims receive full restitution.

FINE: Pursuant to Section 5E1.2 (e) of the Guidelines, all fines are waived as it is found that the
     defendant does not have the ability to pay a fine.

SPECIAL ASSESSMENT: It is ordered that the defendant shall pay to the United States a special
         assessment of $100, which is due immediately. Any unpaid balance shall be due during the
         period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau
         of Prisons' Inmate Financial Responsibility Program.

SENTENCING FACTORS: The sentence is based upon the factors set forth in 18 U.S.C. § 3553, including the
     applicable sentencing range set forth in the guidelines.
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       IT IS ORDERED that the defendant shall self-surrender to the institution designated by the BOP on or
before 12 noon, March 17, 2015 and, on the absence of such designation, the defendant shall report on or
before the same date and time, to the United States Marshal at 255 East Temple Street, Los Angeles, California,
90012.

         The Court RECOMMENDS a BOP facility as close to the Southern California vicinity as possible.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            January 21, 2015
            Date                                                            United States District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                            Clerk, U.S. District Court



            January 21, 2015                                         By     John A. Chambers
            Filed Date                                                      Deputy Clerk


 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;         10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written             activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                       unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the        11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete                 time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                            contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation          12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                       being arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other              13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                            or a special agent of a law enforcement agency without the permission
 6.    the defendant shall work regularly at a lawful occupation unless                    of the court;
       excused by the probation officer for schooling, training, or other            14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                                 parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior             record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                           probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not             defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other       15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,              to the probation officer within 72 hours;
       except as prescribed by a physician;                                          16.   and, for felony cases only: not possess a firearm, destructive device,
 9.    the defendant shall not frequent places where controlled substances                 or any other dangerous weapon.
       are illegally sold, used, distributed or administered;


       The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).




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           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution , however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                    1. Special assessments pursuant to 18 U.S.C. §3013;
                    2. Restitution, in this sequence:
                              Private victims (individual and corporate),
                              Providers of compensation to private victims,
                              The United States as victim;
                    3. Fine;
                    4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                    5. Other penalties and costs.




                               SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                               These conditions are in addition to any other conditions imposed by this judgment.




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:

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 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                 CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                    Defendant                                                       Date




                    U. S. Probation Officer/Designated Witness                      Date




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